                                  1   David Henderson
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                                  3
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                                      dh@henderson-law.com
                                  5
                                      Attorney for Plaintiffs
                                  6
                                                           UNITED STATES DISTRICT COURT
                                  7
                                                            FOR THE DISTRICT OF ALASKA
                                  8
                                      William Tate, Individually,   )
                                  9   and Susie Sours as            )
                                      Co-Guardians of Cynthia       )
                                 10   Tate, and M.T., G.T, M.T.,    )
                                 11
                                      T.T, and M.T., minor children )
                                                                    )
                                 12        Plaintiff,               )
                                                                    )
                                 13        vs.                      )           Case no. 3:14-cv-00242-JWS
                                                                    )
                                 14   UNITED STATES OF AMERICA;     )
                                      SHC Services, Inc., d/b/a     )
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                                 15   Supplemental Physicians; Doug )
                                      Amis; Cheryl Chapman; and     )
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                                 16
      Bethel, Alaska 99559




                                      Advantage RN, LLC             )
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                                 17
                                                                    )
                                                     Defendant.     )
                                 18                                 )

                                 19
                                                      SECOND AMENDED COMPLAINT FOR DAMAGES
                                 20
                                            COME NOW Plaintiffs, and for their cause(s) of action,
                                 21
                                      allege as follows:
                                 22

                                 23
                                                                   I. Jurisdiction

                                 24         1.    At all times relevant hereto, the Plaintiffs were

                                 25   residents of Kotzebue, Alaska, in the District of Alaska.




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                                  1         2.     Plaintiffs Susie Sours and William Tate were
                                  2   appointed co-guardians of Cynthia Tate on February 4, 2014.
                                  3
                                            3.     Plaintiff William Tate is the husband of Cynthia
                                  4
                                      Tate and is the father of plaintiff minor children.
                                  5
                                            4.     This cause of action arises under the Federal Tort
                                  6
                                      Claims Act, 28 U.S.C. sec. 1346, 2401, 2671 et seq., and
                                  7
                                      pursuant to Alaska common law.
                                  8
                                            5.     At all times relevant hereto, Defendant nurses,
                                  9

                                 10   medical staff, Dr. Mary Gwayi-Chore, Doug Amis PA, Nurse

                                 11   Cheryl Chapman, and Dr. Yashwant Chowdhary, who treated the

                                 12   plaintiff on October 19, 2013, were employees or agents of the

                                 13   United States of America.
                                 14         6.     At all times relevant hereto, the Maniilaq Health
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                                 15
                                      Center was an agent of the United States of America.
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                                            7.     On May 29, 2014, the claims set forth herein were
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                                 17
                                      presented to the United Stated Department of Health and Human
                                 18
                                      Services, Public Health Services.         That claim was denied on
                                 19
                                      November 24, 2014.
                                 20
                                            8.     Defendant Doug Amis was also working for SHC
                                 21

                                 22   Services, Inc., d/b/a Supplemental Physicians on October 19,

                                 23   2013.      Its registered agent is Corporation Service Company,

                                 24   address 10 E. South Temple, Suite 850, Salt Lake City, Utah,

                                 25




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                                  1   84133.      On information and belief, Defendant Doug Amis is a
                                  2   resident of Colorado.
                                  3
                                            9.     Defendant nurse Cheryl Chapman was also working for
                                  4
                                      Advantage RN, LLC, a company in Ohio.          Its registered agent is
                                  5
                                      J. Stephen Herbert, 33 W. First St., Suite 600, Dayton, Ohio
                                  6
                                      45402.      On information and belief, Defendant Cheryl Chapman is
                                  7
                                      a resident of Georgia.
                                  8
                                            10.    Each of the employees and entities named above were
                                  9

                                 10   acting within the scope of their employment and/or agency at

                                 11   the time of the events described herein.

                                 12         11.    Based on paragraphs 1 through 10 above, this court

                                 13   has jurisdiction over the claims asserted herein.
                                 14                                     II. Facts
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                                 15
                                            12.    On or about October 19, 2013, Cynthia Tate was a
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                                      patient at Maniilaq Health Center.
          P.O. Box 2441




                                 17
                                            13.    Cynthia Tate went to the Maniilaq Health Center
                                 18
                                      Emergency Room seeking treatment for abdominal pain and
                                 19
                                      vomiting.      She arrived in the E.R. at 17:36.       At 17:50 she had
                                 20
                                      pain 8/10, elevated blood pressure, was grimacing and teary.
                                 21

                                 22   She was assessed by a doctor at 18:32.          Per doctors’ orders,

                                 23   Ms. Tate was given IV fluid infusion and medication at 19:22.

                                 24   No premedication or infusion assessment with vital signs was

                                 25   completed by nursing staff.        Ms. Tate was left unmonitored.




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                                  1         14.   At 19:50 the nurse entered Ms. Tate’s room to find
                                  2   her unresponsive.      The nurse failed to start immediate chest
                                  3
                                      compressions, instead waiting five minutes before compressions
                                  4
                                      were started.     From 20:09 to 20:14 compressions were halted
                                  5
                                      based upon weak palpation of a weak pulse.            Ms. Tate went
                                  6
                                      again for five minutes without circulatory support and
                                  7
                                      cerebral perfusion while she was moved to the trauma bay.
                                  8
                                      EMTs from the fire department were called to the ER because of
                                  9

                                 10   inadequate staff to do CPR.

                                 11         15.   Ms. Tate suffered irreversible brain damage and is

                                 12   now in a vegetative state.

                                 13         16.   William Tate suffered negligent infliction of
                                 14   emotional distress and the loss of consortium, love, and
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                                 15
                                      support of his wife.      Plaintiff children, M.T., G.T, M.T, T.T,
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                                      and M.T., have loss of consortium claims.
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                                 17
                                                    III. Allegation of Negligence/ Recklessness
                                 18
                                            17.   Plaintiffs incorporate the allegations set forth in
                                 19
                                      Paragraphs 1 through 16.
                                 20
                                            18.   Defendants -- Cheryl Chapman, Advantage RN, LLC,
                                 21

                                 22   Doug Amis, SHS Services Inc. d/b/a Supplemental Physicians

                                 23   Agents, and employees of the Maniilaq Health Center – were

                                 24   negligent in that they failed to exercise that degree of care

                                 25   ordinarily exercised under the circumstances by health care




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                                  1   providers in their respective fields or specialties; by
                                  2   failing to properly triage; failing to properly monitor and
                                  3
                                      reassess; failing to start immediate resuscitation efforts
                                  4
                                      after Ms. Tate was found unresponsive, and; failing to
                                  5
                                      properly manage the code.
                                  6
                                            19.   Said breaches of the applicable standards of care
                                  7
                                      also constituted gross negligence and recklessness.
                                  8
                                            20.   The negligent and reckless care and conduct of
                                  9

                                 10   Defendants and/or agents of the Maniilaq Health Center was a

                                 11   direct and proximate cause of Plaintiffs’ injuries and

                                 12   damages, including, but not limited to:

                                 13         (a)   pain and suffering – past and future;
                                 14         (b)   emotional distress – past and future;
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                                 15
                                            (c)   economic losses, including lost wages, earnings, and
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                                      lost earning capacity – past and future;
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                                 17
                                            (d)   medical expenses, and expenses associated with
                                 18
                                      medicare care, and the attainment of medical care;
                                 19
                                            (e)   loss of domestic- and non-market services;
                                 20
                                            (f)   loss of consortium;
                                 21

                                 22         (g)   loss of parental services, and;

                                 23         (h)   loss of love, affection, and support.

                                 24         ///

                                 25         ///




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                                  1         WHEREFORE, Plaintiffs pray for relief as follows:
                                  2         1.    For judgment against Defendants, and in Plaintiffs’
                                  3
                                      favor, compensating them for their above-averred damages, as
                                  4
                                      applicable;
                                  5
                                            2.    For an award of compensable costs, compensable
                                  6
                                      attorney’s fees, and any applicable interest.
                                  7
                                            3.    For any other relief the court deems just and
                                  8
                                      proper.
                                  9

                                 10         DATED this 10th day of March, 2015, at Bethel, Alaska.

                                 11

                                 12
                                                                          _ s/David Henderson
                                 13                                       David Henderson #9806014
                                                                          LAW OFFICES OF DAVID HENDERSON
                                 14                                       Attorney for the Plaintiff
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